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            MONTANA      NINETEENTH  JUDICIAL DISTRICT           COURT
                                LINCOLN COUNTY


      DARLENE         TONI RILEY                           COPY
                          Plaintiff

                   vs                             CAUSE    NO   DV   96111

            GRACE         CO.-        Conn
      Connecticut       Corporation    and
      DOES I-V

                          Defendants


              Taken in the Deponents Home Located at
10          3724   Highway  West Libby Montana 59923
              Tuesday December 10 1996    300
11

12
                                   APPEARANCES
13

14        ..JON   REBERLING ESQ of the firm
           McGarvey Reberling Sullivan  NcGarvey
15         E8qs 745 South Main Kalispell
           Montana 59901
16               appearing       on behalf   of    the    Plaintiff

17

18         KELLY    M.WILLS        ESQ
                                 of the firm
           Garlingon  Lohn   Robinson Esqs
19         199 West Pine Street        Box 7909
           Missoula Montana 598077909
20              appearing on behalf of the Defendant

21

22
           DEPOSITION      OF   MRS   DARLENE        TONI       RILEY
23

24
            Reported      by Carroll         Copeland      CSR RPR
25                 OfficialFreelance         Couit Reporter




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                Grace

                         He    was         boss

                         Does       Donald        Riley          have        any    respiratory

       problems

                         Yes
                         What       problems does                 he    have

                         He    has       asbestosis                think                   am    not

       sure    what   the     proper terminology                        is
                         Does       he    have              is    be    receiving

10     disability benefits                from        Grace       asa         result        of


11     these    problems

12                            dont know
13                       Did    he       work     at    Grace           for         long        period

14     oftime
15                       Yes
16                       Okay            You     basically have                    lived        in


17     Libby or in Idaho             your whole              life            is    that     right

18                       Yes
19                       Okay            Let     me    ask       you     questionsabout

20     where    you    have    lived           okay          Interrogatory

21     responses indicate                that     until          you    were         six    years

.22    old     you    lived    at         ranch        up    at    Bear           Creek

 23                      Yes
 24                      And    that       was          house           on    the     ranch

 25    somewhere

                                                                                                         15


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                           We    built            home       there        It   had            it


       didnt have          no    asbestos          init
              Q.           Next    looks          like       you rented        for

       coupleof       years       here       in    Libby             couple       of    months

                           Two    months

                           Do    you know whether                  that    home        might

       have   had

                                have    no    idea

                           Now     your current                house      here     at       3724

10     Highway        West        Libby            You       believe      that     home       had

       vermiculite         insulation

12                         Yes
13                         And    when       did       you    discover         vermiculite

14     insulation

15                         Shortly       after               moved    in

16                         Okay         So    back       in    1972        1973        1974

17     somewhere      in    there

18                         Yes

19                         All right               How       did    you    discover          that

20     it   was    vermiculite          insulation

21                              swept    it       of     of    that       porch      floor

22                         Where       was    it       coming       from

23                         Out    of    the       ceiling

24                         Could       you    seal       the       ceiling      off

              A.                didnt        do          you       know     when       we     first
25


                                                                                                      32


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                            Now           have       you    been      to        the    mine    or mili

       owned       and    operated             by                Grace

                            Yes           we    played       there          as    children

                            You       played          where

                            We       slid       down       the    hill

                            What          hill
                            Zonolite                hill what              they       call    it

                            Where          is       that    located

                            It       is    up       Rainey       Creek          Ithink

10     dont              this    could          be    wrong                 tried       to    help

11     You    1urn off                     cant           remember

12                          Id        like          you to       give       me    directions          to

13     this       place    where          you       slid    and       it    is    something that

14            did    then       in    the       winter           is    that       what       you    are
       you

15     telling       me     slid          there

16                          Yes           most of          the    kids          would        Vern    and

17          did    when    we    were          dating

18                          This          is    when       the     hill was            covered       with

19     snow        you    would       go       sledding there

20                          Yes           all       the    kids       81
21                          Where          is       it    located

22                          You       turn          off-     there          is    buildings          down

23           the    river        down          by    the    river          as    you    are    heading
       by

24     north        to    Eureka

25                          Okay

                                                                                                            58


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                                    You    turn       left       and    you   go    up that           road

            andyou        turn       up    the       hill         And    we    slid       there

            Now     there       are       no    trespassing             signs

                                    And    that       is    sothething         that       you    did       in


            the    wintertime

                                    Yes
                                    And    for       how many years                did    you    do

            that
                                    linarried Vern                at    17 16            probably

     10     two     three       years
                                    And    would        you      come     home      dusty and

     12     dirty or was             there          snow    so    that     you      wouldnt           be

     13     dusty

     14                             There       was     snow

     15                             Were       you    ever       otherwise at             the

     16     Grace    mine or          mill

     17                             Down             when.I..w..as        little we played

Ii   18     down    by    the       railroad          tracks

     19                             Where       was     that

     20                             Down       as    you    cross       the    bridge       before

     21            get    to    the       river         between         the    river       and    town
            you

     22     there    is       buildings             there         We    played       there       as

     23     kids         We    slid       on    it         We    picked       up    the    little

     24     pieces       and    took       them       apart            Now     and       this    stuff

     25     we    picked       up    was       slick

                                                                                                                59


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                              What       did    it    look     like

                              Kind       of    shiny and           dark

                              It     was      dark    colored

                              Yes        some    of    it          But    it    was        we    took

              it   apart     We    lit     it        The    kids     would          light       it   and

              it   would   puff    up
                              What       do    you    mean     that       the       kids    would

              light   it
                                   cant        remember.lighting                    it
      10                      Who     were      the    kids

      11                      Marilyn          Edwards        was    one       of    them

      12                      Marilyn          Edwards
it

      13                      Yes

      14                      Is     she      still around

      15                      Oh yes
      16                      Is     she      still           is    her    last name still

      17.    .Edwards..
1.1
      18                      Yes
      19                      What       is    her    name      now        It       was    Yohnson

      20                      Yes ohMillie                    Johnson          is    her

      21      sister

      22                      Okay
      23                      SAnd    her      husband          Don       alo        worked          at

      24      Zonolite

      25                      So     you      were    on     ZonolitØ          property          over


                                                                                                           60


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       by    the    railroad          tracks    that       you       played       on
                               Yes      That    is    where            found       my    bird
                               What    bird    is    that

                                 found         pigeon       when            was         little

       girl         The   pigeon poops              like    chickenB               Birds      were

       not    popular at my house                     That       was       at    Izzy

       Carrolls house                 which    is    when            was        kid

                               You    would    come home dirty and                      dusty

       from playing             down    at    the    railroad tracks

10                             Yes
13                             And    were    you    ever       otherwise on

12     Grace       property the              mill    or    the       mine or anywhere

13     else    there      was        property       owned       by    Grace

14                               was    all    over       town              dont remember

15     exactly

16                             Were    there    no    trespassing                signs    down

17    bythe                     where    you    played
                    triver

18                             Not    that      ever       read            When         was

19     kid     we    could       go    anywhere       we    wanted

20                             Times    are    different             now        arent they

21                           Yes         dont        think       that       it    was    an

22     improvement
23                             Lets     see    here        on    your       interrogatory

24     responses          it    indicates       that.you             believe       that       you

25    were     exposed          to    asbestos       or    asbestos pr9ducts


                                                                                                     61


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       while       you    were        at    your       grandmas house                     And    the


       answer.says that                    there was           vermiculite with

       asbestos          in    it          Where       was     the    vermiculite           at    your

       grandmothers house

                               Garden            she    had          lare garden

                               Okay
                               And        they    would        get    my    family          And


       they       would get           my    family my Uncle                  Sebe          be1iere

       thisis        what             believe           I.could        be    wrong        there

10     think       because           he    could       get all        that    he    wanted

11     because       it was           cheap       and    it     was    in    the    garden             It
12     was    put    in       the     gardens            It     was          have          picture

13     of    my    sister        and            beside       the     garden    if    you        want

14     to    seeit
15                             You        played       in the        garden        did     you
16                             We     weeded       it          You    know    how    .little

17    -kids ..weed.           .W.e    ate       most of        it
18                             And        sothat        is     where you       were        exposed

19     to    vermiculite

20                             Morn       told    me    that       granc1maused            to    wash

21     clothes       besides              for    Uncle       Sebe      for other           people

22     and    we    used       to     beat grandmas                  rugs    because        for

       little       kids         that       was    fun               remember beating              the
23
24     rugs       when         was        little

25                             Okay             What    does       that     have     to   do with

                                                                                                            62


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       this    case
                         Well        they       just        said        you       said    was

       around    it
                         Well        what       makes           you    believe       that

       there    might have          been       some asbestos                 in    the    rugs
                         What       has    been        said       inthe           years     it       is


       that    there    is      lot       of    the        women       are    getting       it


       from washing          their husbands                     clothes            And    the

       only    thing    that         can       kick        out    is    that         was

10     around    anything       like       tbatyou                knowrunnirtg

                                               should             windup           with    this
       arourd in Libby               Why

12     disease           didnt        work       there

13                       What       Im trying               to    get    out       from.you          is


14     that    you.believe          there       might           have    been       asbestos          in


15     the    rugs    that    you    beat

16                       Because          grandma           washed       the       clothes       of


17     men                      up    there

18                       Did    she       take     their clothes                   over    on    the

19     rugs    and    shake    them       out     or       something

20                       They       took       their        clothes          off    and

21     grandma       washed    them

22                       Men    would          come        to    your    grandmothers

23     house    and    take    their clothes                    off

24                       No no my uncle                         Sebe    worked       up    there

25                       Okay         Okay            so    your       uncle       worked       at


                                                                                                          63


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              the    mine    and      he     caine    into        the    house            Was       there

              changing       room       or    mud     room        that    he       would       change

              clothes       in   or     anything like               that

                                   Xt      was        back       porch        with       rugs       on    it


              like         have         There        is

                                   And       you     would        shake       those       rugs       out

                                   Ohhuh                   mean     that       is    the       only       thing

              that         can   remember                 That     is    all       that         can-

                                   That       is     all     that       Im trying              to    get

     10       at
     .11                           As         child

     12                            You       talked        about        playing          on    asbestos

     13       piles    near the            ball      field

     14                            Yes
     15                            That       is     indicated           here       in    your

     16       responses            What       are     you       talking        about

     17                            Marilyn           and     my    sister Pat                 have       both

Ii   18       told    me    that      we     used     to     slide       on    them
     19                            And       these        are     piles       of    asbestos

     20                            Well              dont know                piles       of    Zonolite

     21                            Vermiculite

     22                            Uh-huh

     23                            And       they     were piles              of    vermiculite                by

     24       some    ball field

     25                            Well          no       down     by    the       big    buildings

                                                                                                                    64


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                                          would        get up        at      600        oclock           in    the

              morning and             ride       the    bus       with          little         gixl            Get

              off    the bus          with       the    1i.ttle         girl       at    school           get

              bak        on    the    bus       with    her        then       ride       the       bus    back

              to    the       barn and          then    take       my     car           It    is     in the

              general          area         Go back          to    the       house       and       take       care

              ofher
                                           thought          that          was      just       run    down        and

                   was    tired       because               was    getting           honie     at     ten      and

      10      getting          up    at    six         And         progressively got

      11

      12                              And       then         went       to    the       doctor        and      he

      13      told       me    that         had      walking         pneumonia                 lie   gave        me

      14           shot       and    that       is     so    it    was       significant

      15      shortness of                breath            That     isit then

      16                              All       right         And       that       shortness of

      17      breath          resolved           you    called          it    pneumonia

1.1   18                              Yes
      19                              When       you    werent sick                     was    the        first

      20      day    that       you       noticed       shortness             of     breath when               you

      21      were       working          for    Cascade          Ca1e
      22                              Yes
IL    23                              Okay           The     dianosis              ofmesothelioma

      24      was    made in April of                   1996         this       is      past       April

      25      right

                                                                                                                       84


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                           Yes
                            Rave    you       worked        since       then



                            The    last       medical        records that                  have

        Toni    is    from    July       of    1996          Have       you    had       any

        medical      caresince           July     of    1996

                           Yes
                           What     have       you     had
                              havebeen            to.see          Annie       Bukacek

10                          Here    in    town
ii                         Yes
12                         All     right

                              am not                         am    confused             with    --
13                                            sure

14      did   the    radiation                went     to    see       Doctor

15      Whitebouse         Doctor        Whitehouse               if    you    have       got    his

16      records       then    you    have       what         when            was    there

17      last        And    then      seen       Annie        since then

18                         All     right          You       had    some       radiation

        therapy this         mmer is tht right

                              couldnt           tell        from       the    record

22      whether      the   doctors         felt      that     the       radiation helped

23      or    not
24                            thought          that     it    did

25                         Did they           think     that       it    did       as    well

                                                                                                       85


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       Did    they        tell       QU        that    they       thought       thatit

       helped

                                If    you       ever       heard       Doctor Whitehouse

       he    is          sternfaced                 little       fellow         He    said
       tdld       him          had    looked          at    my    Xraya               Łajd     look

       at    these            these       are       better.        And    he    said

       little             That       was       his

                  Q.r          .That       was       it
                                Yes

10                              That       is       about    as    excited       as    Doctor

       Whitehouse              gets        huh
12                              Okay           .1    saw    reference topossible

13     treatment with                 an       experimental             drug

14                                   want       it           mean you          cant     look    at


15     your       kids          Mom has             fixed    everything          all    their

16     lives        and       all    of         sudden           say     you    see     when

17     had    surgery they said that they were                                       going   to-cut.....


18          little        hole       in me            If         had    cancer        they   would

19     close        it
20                                   woke       up    and         am    cut    from    hereto

21     there             And         called my             family              called.moxu      and

22     my son           did     and       my    husband           and    told    everybody

23     that             was    fine            Then    four       days    later Poof

24     get    to        tell    everybody             that       Im dying now
25                              Darlene              did    you    try    the    drug        this


                                                                                                      86


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                               One     is     there       are       two    experimental

            treatment       places      that         know       of    in    the       United

             States      One    is     Austin        Texas          and    one    is


            Knoxville        Tennessee

                               Okay          Looks       as    though       you       were

            prescribed       some      pain medication                after       y.our


             surgery isnt that                correct

                               Yes
                               Have     you       been    on    that       pain       medication

     10      ever since

                               Yes
     12                        All     right         Is       that    able       to    keep       you

     13      reasonably      comfortable             the       pain       medication

     14                        Takes       the     edge       off    of    the    pain

     15                        Okay          At    this       point        you    and     your

     16      husband    have    been       able to        do    what       it    takes       to    take


             care of    each    other thaight2
     18                        Yes
     19                        Havent         had    anyone           any       professional
ii

     20      nursing    assistants come              into       your       home

     21                             cant            Vern       audI        help       each     other

     22     do     things      As    far     as    people cleaning my                    home          to


     23      thoroughly      clean      my    home        people          come     and    do      it


     24      for   me
     25                        Does     your daughter                help       out    with       any


                                                                                                            88


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